Case 1:05-cv-00377-WDM-BNB Document 157-8 Filed 02/12/07 USDC Colorado Page 1 of
                                      18
Case 1:05-cv-00377-WDM-BNB Document 157-8 Filed 02/12/07 USDC Colorado Page 2 of
                                      18
Case 1:05-cv-00377-WDM-BNB Document 157-8 Filed 02/12/07 USDC Colorado Page 3 of
                                      18
Case 1:05-cv-00377-WDM-BNB Document 157-8 Filed 02/12/07 USDC Colorado Page 4 of
                                      18
Case 1:05-cv-00377-WDM-BNB Document 157-8 Filed 02/12/07 USDC Colorado Page 5 of
                                      18
Case 1:05-cv-00377-WDM-BNB Document 157-8 Filed 02/12/07 USDC Colorado Page 6 of
                                      18
Case 1:05-cv-00377-WDM-BNB Document 157-8 Filed 02/12/07 USDC Colorado Page 7 of
                                      18
Case 1:05-cv-00377-WDM-BNB Document 157-8 Filed 02/12/07 USDC Colorado Page 8 of
                                      18
Case 1:05-cv-00377-WDM-BNB Document 157-8 Filed 02/12/07 USDC Colorado Page 9 of
                                      18
Case 1:05-cv-00377-WDM-BNB Document 157-8 Filed 02/12/07 USDC Colorado Page 10 of
                                      18
Case 1:05-cv-00377-WDM-BNB Document 157-8 Filed 02/12/07 USDC Colorado Page 11 of
                                      18
Case 1:05-cv-00377-WDM-BNB Document 157-8 Filed 02/12/07 USDC Colorado Page 12 of
                                      18
Case 1:05-cv-00377-WDM-BNB Document 157-8 Filed 02/12/07 USDC Colorado Page 13 of
                                      18
Case 1:05-cv-00377-WDM-BNB Document 157-8 Filed 02/12/07 USDC Colorado Page 14 of
                                      18
Case 1:05-cv-00377-WDM-BNB Document 157-8 Filed 02/12/07 USDC Colorado Page 15 of
                                      18
Case 1:05-cv-00377-WDM-BNB Document 157-8 Filed 02/12/07 USDC Colorado Page 16 of
                                      18
Case 1:05-cv-00377-WDM-BNB Document 157-8 Filed 02/12/07 USDC Colorado Page 17 of
                                      18
Case 1:05-cv-00377-WDM-BNB Document 157-8 Filed 02/12/07 USDC Colorado Page 18 of
                                      18
